          Case 2:21-mc-01118-PA-RAO Document 18 Filed 03/09/22 Page 1 of 7 Page ID #:132
Name and address:


 J. Stephen Simms, Simms Showers LLP, 201 International Circle,
               Suite 230, Baltimore, Maryland 21030



                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

     In Re the Petition of                                               CASE NUMBER

                                                                                     21-mc-01118-PA-ROAx
     Mobilboxx Europe GmbH

     For Discovery in Aid of                                                APPLICATION OF NON-RESIDENT ATTORNEY
     a Foreign Proceeding                                                         TO APPEAR IN A SPECIFIC CASE
     Pursuant to 28 U.S.C. § 1782                                                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Simms, John S.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney
Simms Showers LLP
Firm/Agency Name
201 International Circle                                              443-290-8704                           410-510-1789
Suite 230                                                             Telephone Number                       Fax Number
Street Address
Baltimore, Maryland 21030                                                                 jssimms@simmsshowers.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Mobilboxx Europe GmbH                                                     Plaintiff(s)    Defendant(s)   ✖   Other: Petitioner
                                                                          Plaintiff(s)    Defendant(s)       Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission           Active Member in Good Standing? (if not, please explain)
Court of Appeals of Maryland                               12/20/1985             Yes
U. S. District Court, District of Maryland                 11/09/1983             Yes
District of Columbia Court of Appeals                      09/18/1984             Yes

G-64 (09/20)                 APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                           Page 1 of 3
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2:22-cv-00490-GW-JEM Alto Navigation, Ltd. v. Daewoo Logistics Corp. et al                  1/24/2022               Granted

2:22-cv-00898-JAK-JEM Peninsula Petroleum Far East Pte. Ltd. v. Crystal Cruises             2/9/2022                 Granted
2:21-mc-01118-PA-RAO          Mobilboxx Europe GmbH                                         12/21/2022               Denied




    In this case, the Court (2/22/2022, ECF 9) denied my application stating that it is "unclear that all state courts are listed to
    which applicant is admitted have been listed" and "Unclear that certificates of good standing are listed for all state courts."

     This application is to respond further to the Court's Order (ECF 9)




                   3/4/2022
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SECTION III - DESIGNATION OF LOCAL COUNSEL
 Crose, John A. Jr.
Designee's Name (Last Name, First Name & Middle Initial)


Firm/Agency Name
Law Office ofJohn A. Crose, Jr.                                    (310) 316-1990                          (None- no fax service/line)
                                                                   Telephone Number                        FaxNumber

Street Address                                                    jcrose@iccla1,vfu-m.com
 2377 Crenshaw Blvd., Suite 151                                   Email Address

  City, State, Zip Code                                           115594
                                                                  Designee's California State Bar Number
  Torrance, CA 90501
I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated   March 4, 2022




SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADD




                 Please see attached page - J. Stephen Simms - List of Bar Memberships
                 as of March 4, 2022

                 Current Certificates of Good Standing:

                 Maryland Court of Appeals
                 District of Columbia Court of Appeals
                 Supreme Court of Illinois

                 (all state court in which I have been admitted), attached/ filed herewith




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                    J. Stephen Simms – List of Bar Memberships
                                 As of March 4, 2022



  Bar Code / ID      Jurisdiction                                 Date of Admission/Status

  None               U.S. Supreme Court                           10/21/2002 Active
  None               U.S. Court of Federal Claims                 11/22/2006 Active
  None               U.S. Court of International Trade            01/19/1984 Active
  382388             U.S. District Court - District of Columbia   09/14/1992 Active
  04269              U.S. District Court - Maryland               08/16/1985 Active
  None               U.S. District Court – Northern Illinois      12/21/1983 Active
  None               U.S. District Court – N.Y. Western           12/21/2015 Active
                     District
  None               U.S. Court of Appeals - 2nd Circuit          02/01/2010 Active
  None               U.S. Court of Appeals – 3rd Circuit          10/02/1985 Active
  None               U.S. Court of Appeals – 4th Circuit          10/18/1985 Active
  None               U.S. Court of Appeals - 5th Circuit          07/18/2002 Active
  None               U.S. Court of Appeals – 7th Circuit          12/30/1983 Active
  None               U.S. Court of Appeals – 9th Circuit          11/30/2005 Active
  None               U.S. Court of Appeals – 11th Circuit         09/12/1995 Active
  53972              U.S. Court of Appeals – D.C. Circuit         02/15/2012 Active
  382388             D.C. Court of Appeals                        09/12/1995 Active
  6185958            Illinois Supreme Court                       11/09/1983 Inactive
  198-512-010-574    Maryland Court of Appeals                    12/20/1985 Active
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     On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                      the District of Columbia Bar does hereby certify that



                         John Stephen Simms
         was duly qualified and admitted on September 18, 1984 as an attorney and counselor entitled to
                       practice before this Court; and is, on the date indicated below, a(n)
                                 ACTIVE member in good standing of this Bar.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                          name and affixed the seal of this
                                                                               Court at the City of
                                                                          Washington, D.C., on February
                                                                                     23, 2022.




                                                                                JULIO A. CASTILLO
                                                                                  Clerk of the Court




                                                                      Issued By:
                                                                               District of Columbia Bar Membership




   For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                       memberservices@dcbar.org.
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